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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 PETER BARBARA and                                      §
 JOHN DREW,                                             §
                                                        §
                                                        §
         Plaintiffs,                                    §
                                                        §   CIVIL ACTION NO.: 4:22-CV-03340
 v.                                                     §
                                                        §
 MCGRIFF INSURANCE SERVICES, INC.,                      §
                                                        §
         Defendant.                                     §


                       DEFENDANT’S PROPOSED PRETRIAL ORDER

       Defendant McGriff Insurance Services, LLC (f/k/a McGriff Insurance Services, Inc.)

(“McGriff”) file its Proposed Pretrial Order and states as follows:

                                             PREFACE

       The Court’s Scheduling Order requires the parties are to file the Joint Pretrial Order on

December 27, 2023. [Doc. No. 9, Para 8.] In anticipation of that filing, counsel for McGriff

contacted counsel for Plaintiff John Drew (“Drew”) regarding the December 27 Joint Pretrial

Order submission deadline to arrange a time to discuss proposed stipulations and the like. Counsel

for Drew was traveling with family and advised that he had mis-calendared the due date for this

pleading for December 28th. Counsel for the Parties agreed that McGriff would file its own

proposed Pretrial Order on December 27th, to comply with this filing deadline. However, counsel

also agreed to speak on December 28th to discuss those topics on which the Court requires the

parties to confer, such as stipulated facts and agreed proposals of law and the like. Therefore,

McGriff is submitting this version of the Pretrial Order to meet the Court’s deadline. Counsel Drew

plans to submit his version of this pleading on December 28,2023, but before doing so, counsel

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plans to speak and confer, so that when Drew files his proposed pretrial order, on December 28th,

it should be able to include proposed stipulated and contested facts and proposed agreed and

opposed questions of law, and the like. Further, and since the trial of this matter is not set until

February 12, 2024, and McGriff’s summary judgment motion is now fully briefed and ripe for

consideration, if the Court prefers, counsel for the Parties can also submit a single, Joint Pretrial

Order at a later date so that the Court need not review two proposed Pretrial Orders.




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                                  DEFENDANT’S PROPOSALS

1.      Appearance of Counsel

        PLAINTIFF

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2.      Statement of the Case

        In this employment dispute, Plaintiff John Drew (“Drew”) has sued McGriff Insurance
        Services, LLC (“McGriff”) for age discrimination under both the Age Discrimination in
        Employment Act of 1967 (“ADEA”) and the Texas Labor Code based upon its 2008
        decision not to award Drew a discretionary forgivable loan as part of a producer
        compensation program that McGriff rolled out in 2008.




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3.      Jurisdiction:

        This Court has jurisdiction over this suit pursuant to 28 U.S.C. §§ 1331 and 1332, and
        under 29 U.S.C. § 1367. No party contests this Court’s jurisdiction.

4.      Motions Pending:

        a. McGriff’s Motion for Leave to File Amended Answer (doc. 13; filed July 6, 2023)

        b. McGriff’s Motion for Summary Judgment and Brief in Support (doc. 29; filed
           November 14, 2023)

5.      Contention of the Parties

        PLAINTIFF

        [to be provided]


        DEFENDANT

                McGriff denies that it discriminated against Drew based upon his age (or otherwise)
        in violation of the ADEA or the Texas Labor Code when it declined to award him a
        discretionary forgivable loan as part of and under a compensation program that McGriff
        announced in February 2008.

               Drew joined McGriff in 2002. He was then 60 years old. At the time of hire, Drew
        negotiated a very lucrative compensation package that far exceeded the normal amounts
        McGriff paid to other Producers. This was one of the reasons McGriff declined to award
        Drew a discretionary forgivable loan, and had nothing to do with his age.

                Drew’s annual salary was also far higher than similarly-situated Producers because
        typically, when more than one Producer services an account, McGriff allocates dollar
        credits for that work between or among the participating Producers, such that the
        percentage amounts of the allocation totals 100%. However, beginning in 2005—and
        continuing to this day—although other Producers work on accounts that Drew may have
        originated, he still receives full credit (i.e., 100%) on each such account. Drew’s salary is
        then calculated based upon this full (100%) allocation. As a result, from 2005 to the present,
        McGriff has paid Drew an additional $1.4 million in salary, above what his salary would
        have otherwise been without this 100% allocation. No other Producer has such an
        arrangement, and Drew would never have been eligible for and received both a forgivable
        loan, and this full credit resulting in his enhanced salary. The amounts Drew would have
        received if he had received only a forgivable loan would have been far less than the $1.4
        million that McGriff has paid to Drew from 2005 to present. Drew’s special compensation
        arrangement regarding co-sold/managed accounts, which had been in place for several
        years as of 2008, was an additional reason McGriff declined to also award Drew a

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        discretionary forgivable loan based upon the size of his book of business, and was unrelated
        to his age.

                McGriff announced the discretionary forgivable loan program in 2008, as part of a
        larger enhanced compensation program. Drew was clearly aware of this larger program,
        specifically including the forgivable loan program in 2008, as he used it to recruit and retain
        other Producers when he headed McGriff’s Dallas office. Drew also knew in 2008 that he
        had not been selected him to receive a forgivable loan me, and had complained about that
        fact to his superiors starting in 2008 and each year after for the next several years. Drew
        also obviously knew his own age. And yet, Drew waited and did not file a charge of
        discrimination until 2021, some fifteen years later. Drew’s charge and suit are therefore
        both untimely and his claims are barred as a result for this additional reason.

                Finally, the Ledbetter amendment to the ADEA does not save Drew’s age
        discrimination claims from being untimely. At most, even if Drew’s charge were timely
        filed based on the Ledbetter amendment, he suffered no actionable damages during the
        charge-filing period, i.e., 180 days prior to the date he filed the charge, because all of his
        damages accrued, if at all, in 2008. The Texas Labor Code does not incorporate the
        Ledbetter amendment to the ADEA, whether expressly or by incorporation, and his state
        law claims are not “saved” from being untimely.


6.      Admissions of Fact

           [Defendant’s Proposals, Subject to Conference as Discussed in Preface]

        a. Drew joined McGriff in 2002 as a Producer.

        b. Drew was 60 years old at the time.

        c. For seven years, Drew headed McGriff’s Dallas office.

        d. In 2008, McGriff formally announced a new compensation program for Producers.

        e. The compensation Program included a discretionary forgivable loan component under
        which, if a Producer’s “book” of business reached a minimum amount of $1,000,000, the
        Producer was eligible to receive a discretionary forgivable loan of $200,000, and if a
        Producer’s book of business then grew by another $500,000, the Producer was eligible for
        an additional forgivable loan of $100,000.

        f. The forgivable loan component of the Program was entirely discretionary, and neither
        Drew nor any other Producer had an entitlement to a loan simply by virtue of the size of
        the Producer’s “book.”

        g. McGriff did not select Drew to participate in the forgivable loan program when it was
        announced in 2008, and each year thereafter.


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        h. In 2016, McGriff made Drew a $50,000 forgivable loan, repayable over five years, which
        amount was forgiven by 2021.

        i. Aside from the $50,000 forgivable loan Drew received in 2016, he has not otherwise
        received any other forgivable loans, including under the Program.

        j. Drew is currently employed by McGriff as a Producer.

        k. Drew’s current annual salary is approximately $425,000.

        l. Drew’s book of business, as calculated for the purposes of forgivable producer loans, has
        never exceeded $3 million.

        m. No McGriff employee made any age animus statements or remarks to Drew about his
        age or that he was not selected to participate in the forgivable loan program because of his
        age.

        n. Drew jointly filed his only charge of discrimination with the EEOC and the Texas
        Workforce Commission on September 14, 2021, regarding his non-participation in the
        forgivable loan program.


7.      Contested Issues of Fact

        PLAINTIFF

        [to be provided]


        DEFENDANT

               [Defendant’s Proposals, Subject to Conference as Discussed in Preface]

        a. Whether Drew can prove by a preponderance of the evidence that, but for his age,
           McGriff would have selected Drew to participate in the forgivable loan program.

        b. Whether Drew can prove by a preponderance of the evidence that his age was a
           motivating factor in McGriff’s decision regarding whether to select him to participate
           in the forgivable loan program.

        c. Whether Drew received compensation from McGriff above and beyond what it paid
           and pays to other Producers.

        d. Whether McGriff’s decision not to award Drew a forgivable loan under the Program
           was based on the compensation package Drew negotiated at the outset of his
           employment in 2002.



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       e. Whether McGriff’s decision not to award Drew a forgivable loan under the Program
          was based on the unique compensation structure implemented in 2005 whereby he
          continued to receive 100% credit for new business on certain accounts despite the fact
          that other Producers (a) had begun working on those accounts and (b) despite Drew’s
          100% credit, each still received the credit they would have received in the ordinary
          course.

       f. Whether Drew was aware of the forgivable loan program in 2008.

       g. Whether in 2008, Drew was also aware of that McGriff had not selected him to receive
          a forgivable loan in 2008.

       h. Whether between 2008 and 2015, Drew complained regularly that he had not been
          selected to receive a forgivable loan.

       i. Whether Drew would have been eligible to receive a forgivable loan after 2008, based
          upon the size of his annual book of business.

       j. Whether Drew would have been eligible to receive a forgivable loan based upon the
          size of his book of business in addition to the other amounts that McGriff paid Drew,
          such as his enhanced annual salary.

       k. If Drew were eligible to receive a forgivable loan in 2008, whether he would have ever
          been eligible to receive any other forgivable loan amounts within 180 days of
          September 14, 2021.

       l. Whether Drew can identify any comparators who were treated more favorably, i.e.
          whether he can show that McGriff has paid another Producer the amounts that it paid
          to Drew in enhanced salary and given them forgivable loans under the Program.

       m. If Drew is able to prove that he is entitled to a forgivable loan, what would the loan
          amount be, if any, and loan terms be?

       n. Whether Drew timely filed a charge of discrimination.

       o. If his charge of discrimination was timely filed, whether Drew suffered any actionable
          damages during the period of time for filing the charge (i.e., 180 days prior to filing).

       p. Whether Drew’s claims are barred by his failure to timely exhaust his administrative
          remedies.

       q. Whether Drew’s claims are barred by the applicable statute(s) of limitations.

       r. Whether Drew’s claims are barred by the doctrines of laches, unclean hands, after-
          acquired evidence, waiver, and/or estoppel.

       s. To the extent any of the above are deemed to be contested issues of law, they are
          incorporated by reference as such.

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8.      Agreed Propositions of Law

             [Defendant’s Proposals, Subject to Conference as Discussed in Preface]

        a.      The Age Discrimination in Employment Act (“ADEA”) makes it unlawful for an
                employer to “fail or refuse to hire or discharge any individual with respect to his
                compensation, terms, conditions, or privileges of employment.” 29 U.S.C. § 623(a).

        b.      A plaintiff proceeding under the ADEA must prove that he was “within the
                protected class,” i.e., age 40 or older; qualified for the position he held; suffered an
                adverse employment decision; and was treated less favorably than similarly situated
                younger employees.” Leal v. McHugh, 731 F.3d 405, 410-411 (5th Cir. 2015).

        c.      To prevail on a cause of action for violation of 29 U.S.C. § 623(a)(1), “a plaintiff
                must prove that age was the ‘but-for’ cause of the employer’s adverse action.”
                Harris v. City of Schertz, 27 F.4th 1120, 1123 (5th Cir. 2022) (quoting Gross v.
                FBL Fin. Servs., Inc., 557 U.S. 167, 176 (2009)).

        d.      “The burden of persuasion does not shift to the employer to show that it would have
                taken the actions regardless of age, even where a plaintiff has produced some
                evidence that age was one motivating factor in that decision.” Gross, 557 U.S. at
                180.

        e.      The ADEA also provides that “[n]o civil action may be commenced by an
                individual under this section until 60 days after a charge alleging unlawful
                discrimination has been filed with the Equal Employment Opportunity
                Commission. Such a charge shall be filed (A) within 180 days after the alleged
                unlawful practice occurred; or (B) in a case to which section 633(b) of this title
                applies, within 300 days after the alleged unlawful practice occurred[.]” 29 U.S.C.
                § 626(d)(1)(A)-(B).

        f.      Under the ADEA, “the Fifth Circuit has expressly rejected the notion that a Title
                VII discrimination claim – and its attendant pre-suit requirements period – begins
                to accrue when the plaintiff learns of discriminatory intent ,as opposed to the
                discriminatory act itself.” Li v. Univ. of Tex. Rio Grande Valley, No. 7:15-CV-
                00534, 2018 WL 706472, at *5 (S.D. Tex. Feb. 2, 2018) (citing, inter alia, Merrill
                v. Southern Meth. Univ., 806 F.2d 600, 605 (5th Cir. 1986) (limitations period
                begins to run when a plaintiff knows or reasonably should know that the
                discriminatory act has occurred, not when he or she first perceives that a
                discriminatory motive caused the act)). See, e.g., Foster v. United Rentals (North
                America), Inc., No. 2:16-CV-114, 2018 WL 1474186, at *3 (S.D. Tex. March 9,
                2018) (applying same principle to ADEA claim).

        g.      ADEA claims “based on discrete acts cannot rely on a continuing violation theory.”
                Heath v. Bd. of Supervisors for Southern Univ. and Agricultural and Mech. College,
                850 F.3d 731, 741-742 (5th Cir. 2017) (citing Nat’l RR. Passenger Corp. v.

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               Morgan, 536 U.S. 105, 113 (2004)). See, e.g. Simmons-Myers v. Caesars Ent.
               Corp., 515 F. App’x 269, 273 (5th Cir. 2013) (“discrete discriminatory acts are not
               entitled to the shelter of the continuing violation doctrine”).

       h.      Under the ADEA, “multiple discrete acts of discrimination during” an employee’s
               tenure do not collectively constitute “one ‘unlawful employment practice.’”
               Lucenio v. Houston I.S.D., No. 4:21-cv-00650, 2022 WL 658838, at *12 (S.D. Tex.
               Feb. 16, 2022) (quoting Morgan, 536 U.S. at 117)).

       i.      “Equitable tolling applies to statutes of limitations because the statute of limitations
               ‘encourages the plaintiff to pursue his rights diligently’ and does not have its
               purpose furthered ‘when an extraordinary circumstance prevents [a plaintiff] from
               bringing a timely action.’” Middaugh v. InterBank, 528 F. Supp. 3d 509, 527 (N.D.
               Tex. 2021) (quoting CTS Corp. v. Waldburger, 573 U.S. 1, 10 (2014)). “Therefore,
               the discovery rule does not apply unless ‘the nature of the injury incurred is
               inherently undiscoverable.’” Id. (quoting Beavers v. Metro. Life Ins. Co., 566 F.3d
               436, 439 (5th Cir. 2009)).

       j.      “Equitable tolling is to be applied sparingly.” Manning v. Chevron Chem. Co.,
               LLC, 332 F.3d 874, 880 (5th Cir. 2003) (quoting Nat’l RR Passenger Corp. v.
               Morgan, 536 U.S. 101, 113 (2002)).

       k.      “[E]quitable tolling might apply due to fraudulent concealment where ‘the
               defendants concealed the conduct complained of, and . . . the plaintiff failed, despite
               the exercise of due diligence on his part, to discover the facts that form the basis of
               his claim.’” Id. (quoting Texas v. Allan Const. Co., Inc., 851 F.2d 1526, 1528 (5th
               Cir. 1988)) (alterations original).

       l.      The Lilly Ledbetter Fair Pay Act of 2009 redefined “occurrence” for the ADEA to
               say that “an unlawful employment practice occurs, with respect to discrimination
               in compensation . . . when a person is affected by application of a discriminatory
               compensation decision or other practice, including each time wages, benefits, or
               other compensation is paid, resulting in whole or in part from such a decision or
               other practice.” 29 U.S.C. § 626(d)(3).

       m.      Attorneys’ fees under the ADEA are only available to a plaintiff who is a
               “prevailing party.” Tyler v. Union Co. of Cal., 304 F.3d 379, 404 (5th Cir. 2002).

       n.      Under the Texas Labor Code (the “Code”), “an employer commits an unlawful
               employment practice if because of race, color, disability, religion, sex, national
               origin, or age the employer . . . discharges an individual, or discriminates in any
               other manner against an individual in connection with compensation or the terms,
               conditions, or privileges of employment.” Tex. Lab. Code § 21.051.

       o.      Under the Code, an “unlawful employment practice is established when the
               complainant demonstrates that race, color, sex, national origin, religion, age or
               disability was a motivating factor for an employment practice, even if other factors
               also motivated the practice[.]” Tex. Lab. Code § 21.125(a). “Motivating factor”
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               means that the employee’s age was “a reason for making the decision at the time it
               was made.” Dallas County Sheriff’s Dep’t v. Gilley, 114 S.W.3d 689, 693 (Tex.
               App.—Dallas 2003, no pet.). See also Price Waterhouse v. Hopkins, 490 U.S. 228,
               250 (1989) (in gender discrimination case, “in saying that gender played a
               motivating part in an employment decision, we mean that, if we asked the employer
               at the moment of the decision what its reasons were and if we received a truthful
               response, one of those reasons would be that the applicant or employee was a
               woman”).

       p.      The Code provides that “a person claiming to be aggrieved by an unlawful
               employment practice . . . may file a complaint with” the Texas Workforce
               Commission—Civil Rights Division.” Tex. Lab. Code § 21.201. With the
               exception of sexual harassment complaints, “a complaint under this subchapter1
               must be filed not later than the 180th day after the date the alleged unlawful
               employment practice occurred.” Id. § 21.202(a). “The commission shall dismiss an
               untimely complaint.” Id. § 21.202(b). The charging party becomes entitled to a
               “notice of right to file a civil action” 180 days after filing a complaint, and must
               file that civil action (a) within 60 days of receiving the notice of rights letter and
               (b) within two years of filing the complaint. Id. §§ 21.252, 21.254, 21.256.

       q.      Under Texas law, the 180-day limitations period “begins to run when the employee
               is informed of the allegedly discriminatory employment decision.” Ajayi v.
               Walgreen Co., 562 F. App’x 243, 246 (5th Cir. 2014) (citing Specialty Retailers,
               Inc. v. DeMoranville, 933 S.W.2d 490, 493 (Tex. 1996)). Just as it is “well
               established in this circuit that in age discrimination cases the limitations period
               begins to run when the plaintiff knows of the discriminatory act, not when he first
               perceives the discriminatory motive . . . Texas courts of appeals have adopted this
               position.” Ajayi, 562 F. App’x at 246 (citing Ogletree v. Glen Rose Indep. Sch.
               Dist., 314 S.W.3d 450, 455 (Tex. App.—Waco 2010, pet. denied); Acosta v.
               Memorial Hermann Hosp. Sys., No. 14-07-00001-CV, 2008 WL 198852, at *4
               (Tex. App.—Houston [14th Dist.] Jan. 22, 2008, pet. denied); Abbott v. Rankin, No.
               06-07-00149-CV, 2008 WL 5156453, at *3 (Tex. App—Texarkana Dec. 10, 2008,
               pet. denied)).

       r.      The Texas Labor Code does not have an expanded definition of “occurrence” for
               compensation discrimination claims. Indeed, the Texas Labor Code does not define
               “occurrence” at all. Prairie View A & M Univ. v. Chatha, 381 S.W.3d 500, 506-
               507 (Tex. 2012). Case law provides that an “occurrence” happens, and the
               limitations period begins to run, when the employee is informed of the allegedly
               discriminatory employment decision. Id. (citing Specialty Retailers, Inc. v.
               DeMoranville, 933 S.W.2d 490, 493 (Tex. 1996)).

       s.      “The 180-day limitations period for an employment discrimination complaint
               begins when the employee is informed of the allegedly discriminatory decision, not
               when that decision comes to fruition. The date of the discriminatory act controls,



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               not some later date when the employee discovers that the act is discriminatory.”
               Abbott v. Rankin, No. 06-07-00149-CV, 2008 WL 5156453, at *3 (Tex. App.—
               Texarkana Dec. 10, 2008, pet. denied) (citations omitted). See, e.g., Gilles-
               Gonzalez v. Univ. of Tex. Sw. Med. Ctr., No. 05-16-00078-CV, 2016 WL 3971411,
               at *4 (Tex. App.—Dallas July 22, 2016, no pet.) (“limitations period begins to run
               on the date the discriminatory act occurred, not on the date the victim first perceives
               that a discriminatory motive caused the act”) (citing Merrill, 806 F.2d at 605);
               Ogletree v. Glen Rose I. S. D., 314 S.W.3d 450, 455 (Tex. App.—Waco 2010, pet.
               denied) (relying on Merrill and holding that the statute of limitations for
               employment discrimination claims runs from the date of occurrence, not the date
               of discovery of discriminatory intent).

       t.      An aggrieved party must file a charge of discrimination with the Texas Workforce
               Commission, and by law, “the commission shall dismiss an untimely complaint.”
               Id. This 180-day filing deadline, while not jurisdictional, is “mandatory.” Hinkley
               v. Envoy Air, Inc., 968 F.3d 544, 553 (5th Cir. 2020). Failure to timely satisfy the
               administrative-exhaustion requirement bars recovery and warrants dismissal of any
               civil action not preceded by a timely written complaint. Id. at 552, 555.

       u.      Under Texas law, the “continuing violation doctrine applies when an unlawful
               employment practice manifests itself over time, rather than as a series of discrete
               acts.” Davis v. Autonation USA Corp., 226 S.W.3d 487, 493 (Tex. App.—Houston
               [1st Dist.] 2006, no pet.). In some instances, “equitable considerations may require
               that the filing period not begin until acts supportive of a civil rights action are, or
               should be, apparent to a reasonably prudent person in the same or a similar
               position.” Id. (quoting Wal-Mart Stores v. Davis, 979 S.W.2d 30, 31 (Tex. App.—
               Austin 1998, pet. denied)). The “touchstone” in determining whether to apply the
               continuing violation doctrine is “whether [the] employee was put on notice that his
               rights had been violated.” Id. (citing Hackabay v. Moore, 142 F.3d 233, 239 (5th
               Cir. 1998)). See White v. United Parcel Serv., Inc., No. H-20-2813, 2021 WL
               4941998, at *7 (S.D. Tex. Oct. 22, 2021) (citing and applying Davis).

       v.      When sitting in diversity (as the Court is for purposes of Drew’s Texas Labor Code
               claim), “federal courts must abide by a state’s tolling rules, which are integrally
               related to statutes of limitations.” Labaty v. UWT, Inc., 121 F. Supp. 3d 721, 742-
               743 (W.D. Tex. 2015) (quoting Albano v. Shea Homes Ltd. P’ship, 634 F.3d 524,
               530 (9th Cir. 2011)).

       w.      Under Texas law, “equitable tolling is a ‘sparingly’ used doctrine.” Hand v. Stevens
               Transp., Inc. Employee Benefit Plan, 83 S.W.3d 286, 293 (Tex. App.—Dallas
               2002, no pet.) (quoting Irwin v. Dep’t of Veterans Avairs, 498 U.S. 89, 96 (1990)).
               For example, “courts will apply the equitable tolling doctrine in misidentification
               cases where applying the statute of limitations would not serve its legitimate
               purpose.” Torres v. Johnson, 91 S.W.3d 905, 909 (Tex. App.—Fort Worth 2002,
               no pet.).



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       x.      The “purpose of statutes of limitations is to compel the assertion of claims within a
               reasonable period so that the opposite party has a fair opportunity to defend while
               witnesses are available and the evidence if fresh in their minds.” Id. at 908 (citing
               Computer Assocs. Int’l, Inc. v. Altai, Inc., 918 S.W.2d 453, 455 (Tex. 1996)).

       y.      In Texas, “the discovery rule” may delay accrual or toll limitations, and applies “on
               a categorical basis to injuries that are both inherently undiscoverable and
               objectively verifiable.” Valdez v. Hollenbeck, 465 S.W.3d 217, 229 (Tex. 2015).
               Similar to federal precedent, “fraudulent concealment is a fact-specific equitable
               doctrine that tolls limitations until the fraud is discovered or could have been
               discovered with reasonable diligence.” Id. at 229 (citing Shell Oil Co. v. Ross, 356
               S.W.3d 924, 927 (Tex. 2011)).

       z.      “The estoppel effect of fraudulent concealment ends when a party learns of facts,
               conditions, or circumstances which would cause a reasonably prudent person to
               make inquiry which, if pursued, would lead to the discovery of the concealed cause
               of action.” Borderlon v. Peck, 661 S.W.2d 907, 909 (Tex. 1982). “Knowledge of
               such facts is in law equivalent to knowledge of the cause of action.” Id.

       aa.     The Texas Supreme Court has made clear that the Lilly Ledbetter Fair Pay Act is
               not incorporated by reference into the Texas Labor Code. Prairie View A & M Univ.
               v. Chatha, 381 S.W.3d 500, 507-508 (Tex. 2012) (explaining, in the specific
               context of the Ledbetter Act, that the “general purposes provision” of the Texas
               Commission on Human Rights Act, which states that one of the purposes of the
               TCHRA is to provide for the “execution of the policies of Title VII . . . and its
               subsequent amendments” does not mean that all amendments are automatically
               incorporated into the TCHRA). See, e.g., Blasingame v. Eli Lilly and Co., No. H-
               11-4522, 2013 WL 5705234, at *5 (S.D. Tex. Oct. 18, 2013) (citing Chatha and
               holding that the Lilly Ledbetter Fair Pay Act “does not act to extend the time for
               filing claims under the TCHRA”).

       bb.     Under the Texas Labor Code, “in a complaint in which the complainant proves a
               violation under Subsection (a),” i.e., proves that age or another impermissible
               consideration was motivating factor for an employment practice, “and a respondent
               demonstrates that the respondent would have taken the same action in the absence
               of the impermissible motivating factor, the court may grant declaratory relief,
               injunctive relief except as otherwise provided by this subsection, and attorney’s
               fees and costs demonstrated to be directly attributable only to the pursuit of a
               complaint under Subsection (a), but may not award damages or issue an order
               requiring an admission, reinstatement, hiring, promotion, or back pay.” Tex. Lab.
               Code § 21.215(b) (emphasis added).

       cc.     The Texas Labor Code specifically authorizes awards of attorneys’ fees: “in a
               proceeding under this chapter, a court may allow a prevailing party, other than [the
               Texas Workforce Commission], a reasonable attorney fee as part of the costs.” Tex.
               Lab. Code § 21.259(a).


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9.       Contested Propositions of Law

         PLAINTIFF

         [to be provided]


         DEFENDANT

         [to be provided after conference as discussed in preface, at which it will be determined
         whether any of Defendant’s proposed agreed propositions of law, stated above, are
         contested]


10.      Exhibits

         A. On a separate form similar to the one provided by the Clerk, each party has attached
four lists of all exhibits expected to be offered and will make the exhibits available for examination
by opposing counsel. All documentary exhibits must be exchanged before trial, except for rebuttal
exhibits or those whose use cannot be anticipated.

         Four Copies of Defendant’s Exhibit List are Attached

         B. The Parties acknowledge that each party requiring authentication of an exhibit must
notify the offering counsel in writing within five days after the exhibit is listed and made available;
failure to object in writing in advance of the trial concedes authenticity.

       C. Within reason, other objections to admissibility of exhibits must be made at least three
business days before trial; the Court will be notified in writing of disputes, with copies of the
disputed exhibit and authority.

11.      Witnesses

         A.     On a separate form, each party has attached four lists with the names and addresses
                of witnesses who may be called with a brief statement of the nature of their
                testimony.

                Four Copies of Defendant’s Witness List are Attached

         B.     If other witnesses to be called at the trial become known, their names, addresses,
                and subject of their testimony will be reported to opposing counsel in writing as
                soon as they are known; this does not apply to rebuttal or impeachment witnesses.




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12.    Settlements

       Counsel for the parties have exchanged settlement offers, but the parties are very far apart.


13.    Trial

        Defendant anticipates that trial will take two to three days and does not foresee any
logistical problems of the type mentioned in the Court’s template joint pretrial order.

14.    Attachments

       Defendant’s proposed findings of fact are attached in duplicate and have been filed
       separately; however, until the conference described in the preface occurs, Defendant is
       unable to state which of its proposed findings of fact are agreed and which are contested.

       Defendant’s proposed conclusions of law with authority are attached in duplicate and have
       been filed separately.

Approved:


       _______________________________________                 Date:_______________________
       Attorney-in-Charge, Plaintiff


        /s/ Gary D. Eisenstat                                  Date: December 27, 2023
       Attorney-in-Charge, Defendant




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                                               Respectfully submitted,

                                               By: /s/ Gary D. Eisenstat
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                                                 ATTORNEYS FOR DEFENDANT



                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2023, the foregoing document was filed using the
Court’s electronic filing system, which will send notification of such filing to all counsel of record.


                                                  /s/ Gary D. Eisenstat
                                                  Gary D. Eisenstat




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